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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

SUNDAR GONGAJU,                                      )
                                                     )
                Plaintiff,                           )
v.                                                   )
                                                     )       C. A. No. 17-cv-12219-RWZ
SELECT PORTFOLIO SERVICING, INC.,                    )
                                                     )
                Defendant.                           )

                                    JOINT STATUS REPORT

         The Parties, by and through their respective undersigned counsel, hereby joint provide the

Court with a status update in accordance with the order entered at the Scheduling Conference.

The Parties have reached mutual agreement on material terms to resolve fully and completely all

remaining claims, subject only to finally negotiating any outstanding specific language of and

executing a definitive settlement agreement. The Parties are in the process of drafting the

required documents to memorialize formally their settlement, which will include dismissal with

prejudice of this action. The Parties request 45 days to complete all required documents and to

consummate their settlement in accordance with the material terms agreed, subject to a

reasonable extension if required.

Respectfully submitted,                            Respectfully submitted,
SUNDAR GONGAJU,                                    SELECT PORTFOLIO SERVICING, INC.,
By his attorneys,                                  By its attorneys,

/s/ Alexa Rosenbloom                               /s/ Peter F. Carr, II __________
Alexa Rosenbloom (BBO #679018)                     Peter F. Carr, II (BBO #600069)
Matthew Brooks (BBO # 693322)                      ECKERT, SEAMANS, CHERIN &
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Dated: June 8, 2018



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                                 CERTIFICATE OF SERVICE


       I, Peter F. Carr, II, Esquire, certify that on this date this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to the non-registered participants.


Date: June 8, 2018                    /s/ Peter F. Carr, II
                                      Peter F. Carr, II




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